       Case 1:19-cr-00795-SHS Document 187 Filed 10/16/20 Page 1 of 1


                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    October 15, 2020

BY ECF

The Honorable Sidney H. Stein                                                 MEMO ENDORSED
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Alberto Marte et al., 19 Cr. 795 (SHS)

Dear Judge Stein:

        This case is currently scheduled for a status conference on Wednesday, October 28,
2020 at 2:30 p.m. The Government respectfully requests—with the consent of counsel for all
defendants who have not yet pled guilty—that the conference be adjourned for approximately
90 days, as defense counsel are continuing to review discovery, consider motions that may be
filed, and negotiate potential pretrial resolutions. For the same reasons, the Government also
respectfully requests that, in the interests of justice, time between October 28, 2020 and the
next conference date be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).
Again, all relevant defense counsel consent to this request.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney

                                             By:
                                                                                   bson
                                                    Assistant United States Attorneys
                                                    (212) 637-2325 / -2484

cc:    All counsel of record (via ECF)
                    The conference is adjourned to January 28, 2021, at 2:30 p.m. The time is
                    excluded from calculation under the Speedy Trial Act from today until January
                    28, 2021. The Court finds that the ends of justice served by this continuance
                    outweigh the best interests of the public and the defendants in a speedy trial
                    pursuant to 18 U.S.C. ' 3161(h)(7)(A).

                    Dated: New York, New York
                           October 16, 2020
